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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF THE COMPLAINT                         C.A. NO. 2:17-cv-01545

OF TK BOAT RENTALS, LLC, AS                            Consolidated with 2:17-cv-02446,
OWNER AND OPERATOR                                     17-cv-3657

OF THE M/V MISS IDA
PETITIONING FOR EXONERATION                            SECTION: "R" - SARAH S. VANCE

FROM OR LIMITATION OF LIABILITY
                                                       DIVISION: "4" - KAREN WELLS
                                                       ROBY


                                                       This Document relates to Beck, et al v.
                                                       TK Boat Rentals, LLC, et al, 2:17-cv-
                                                       02446


                          MEMORANDUM IN SUPPORT OF
                        MOTION FOR SUMMARY JUDGMENT
                      ON BEHALF OF ANDRE D. BOUDREAU AND
                             GEICO MARINE INSURANCE COMPANY


MAY IT PLEASE THE COURT:

        The Court has previously ruled that Andre D. Boudreau is an insured entitled to defense

under the Allianz Global Corporate and Specialty Insurance Company policy ("AGCS Policy")

                         1
issued to Troy Wetzel.       Boudreau and GEICO Marine Insurance Company ("GEICO Marine")


now move for summary judgment for coverage under the AGCS Policy for Boudreau's alleged

                                                                                       on
negligence arising from the operation of M/V SUPER STRIKE on behalf of Extreme Fishing

February 12, 2017.    Boudreau has met both of the conditions required to establish coverage

under the Temporary Substitute Watercraft clause in the AGCS Policy:       1) the insured vessel,

                                                                                      loss and
M/V KINGFISH, was out of normal service on the date of the collision due to a covered


2) M/V SUPER STRIKE is of a similar type, value and length as M/V KINGFISH.               AGCS

                                                                                             have
cannot meet its burden of proof that the terms of its Temporary Substitute Watercraft clause




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not been met.      Furthermore, the "Other Insurance" clauses in the GEICO Marine and AGCS

Policies make clear that AGCS provides primary coverage for Boudreau and the GEICO Marine

Policy provides excess coverage.           GEICO Marine is therefore entitled to recover its costs for

defending Boudreau in this case.


                                                       Facts


    a.    The Collision


          The facts of this case are generally set forth in In re: TK Boat Rentals} M/V KINGFISH

is a vessel owned by Troy Wetzel.               Wetzel bareboat charters M/V KINGFISH to Extreme


Fishing, L.L.C., of which Wetzel is the sole member. Extreme Fishing had a contract to take a

customer fishing on that vessel, with Andre Boudreau as the operator, on February 11, 2017.


During that trip, M/V KINGFISH's port propeller spun off its shaft and into the marsh and the

vessel had to be towed back to Venice Marina.3                   M/V KINGFISH was out of commission

because of the lost prop and could not be used the following day to take out the Extreme Fishing

charter booked by Patrick Beck.4 Boudreau, on behalf of Extreme Fishing, leased M/V SUPER

STRIKE, a 32' twin vee catamaran, from Chase St. Clair as a substitute vessel for the Beck

charter.5 Wetzel admits that M/V SUPER STRIKE is similar to M/V KINGFISH, which is 40'

in length, and his other vessel, M/V KINGFISH II, a 36' twin vee.6 Both vessels were capable of

tuna fishing in East Lump where Boudreau intended to take the Beck party.7 Beck "expected to

pay Wetzel the $2,200 trip fee even though they were no longer using one of Wetzel's boats."




2 R. Doc. No. 186.
3 Exhibit A, deposition testimony of Andre Boudreau at pp. 71-73.
4 Exhibit B, deposition testimony of Troy Wetzel at p. 42.
5 Exhibit A, deposition testimony of Andre Boudreau at pp. 51, 73-74.
6 Exhibit B, deposition testimony of Troy Wetzel at pp. 46, 64, and 74.
7 Exhibit B, deposition testimony of Troy Wetzel at pp. 74-75.
8 R. Doc. No. 186, pp. 11-12.


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On February 12th, Boudreau, while operating M/V SUPER STRIKE with the Beck party on

board, was involved in a collision with M/V MISS IDA.

          Boudreau does not know why the prop backed off M/V KINGFISH's shaft on February


1 1th.9 Wetzel does not know why the prop backed off either, but testified "I do know one thing.
                                                                                                                         i

The boat's in great shape... I loaded the boat personally the day before, fueled it, iced it, baited

it, did everything. . . I wanted everything to be perfect that day. It was working perfect the day

                Wetzel does not believe that Boudreau did anything to intentionally cause the prop to
          »io
before.


come off.11

    b. Wetzel Notifies AGCS of the Collision

          Four days after the collision, Wetzel, through his attorney, advised The Hogans Agency

("Hogans") that Boudreau was operating a charter fishing trip for Extreme Fishing using M/V
                                                                                                                   1 j




SUPER STRIKE when the collision occurred and requested defense counsel be appointed.

Hogans did not forward this request to AGCS. Instead, Hogans advised Wetzel's attorney that

the claim should fall back on the owner of the substitute vessel because it did not believe that the

AGCS Policy provided coverage for this claim.13

          Plaintiffs filed suit against the defendants on March 24, 2017. 14 Wetzel's attorney sent

the Complaint to Hogans and again requested a defense on May 1, 20 17. 15 Hogans completed an

AGCS First Notice of Loss ("FNOL") form which, contrary to Wetzel's February 16th letter,




9 Exhibit A, deposition testimony of Andre Boudreau at p. 72.
10 Exhibit B, deposition testimony of Troy Wetzel at pp. 37- 38.
11 Exhibit B, deposition testimony of Troy Wetzel at p. 73.
12 Exhibit C, in globo.
13 Exhibit C, in globo. Neither Wetzel nor his attorney ever contacted St. Clair or GEICO Marine about coverage.
14 R. Doc. No. 1, Case No. 17-3657.
15 Exhibit D, in globo.



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states that Wetzel "gave trip to another captain." Hogans forwarded the FNOL and Complaint to

a representative of AGCS on May 2nd.16

         On May 10th, AGCS issued a reservation of rights letter ("ROR") to Wetzel through his

attorney. The ROR questioned whether there is coverage for this loss under the Policy's

Temporary Substitute Watercraft clause, which states:

    2. Temporary Substitute Watercraft — If your Watercraft is out of normal use because
       of a covered loss, we will cover damages you are legally obligated to pay for bodily
       injury or property damage arising from the maintenance, use, or control of a
         temporary substitute Watercraft. The temporary substitute Watercraft must be of a
         similar type, value, and length as the Watercraft that is out of normal use. But we do
         not cover temporary substitute Watercraft being used for any purpose other than
         replacing your Watercraft while it is out of normal use due to a covered loss.


         AGCS advised that it needed to investigate whether the insured vessel, mistakenly

referred to as M/V KINGFISH II, was out of service due to a covered loss. On June 14, 2017,

counsel for AGCS issued a second ROR letter to Wetzel's attorney.18 That ROR letter again

questioned whether there was coverage for this loss under the Temporary Substitute Watercraft

clause. This ROR letter also stated that AGCS did not know if the insured vessel, again referred

to as M/V KINGFISH II, was out of service due to a covered loss, or if M/V SUPER STRIKE

was of a similar type, value and length as that vessel. AGCS agreed to provide a defense to

Wetzel under a reservation of rights.

                                          Procedural History


         The owners of M/V MISS IDA and M/V SUPER STRIKE each filed limitation of

liability actions relating to the collision.19 Plaintiffs filed claims in these limitation actions

against Extreme Fishing and Wetzel, as well as against Boudreau, St. Clair and their insurer,




16 Exhibit D, in globo.
17 Exhibit E, p. 3. See also AGCS Charter Value Vessel Policy, Policy No. OHL92005573-Wetzel TR 01 attached
hereto as Exhibit F, p. 10.
18 Exhibit G. M/V KINGFISH II is a different vessel owned by Wetzel and insured by AGCS.
19 R. Doc. No. 1, Case No. 17-3657.


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GEICO Marine.20 AGCS provided a defense to Wetzel21 and continues to provide a defense to
                                                                                                  99

Extreme Fishing. Plaintiffs amended their original complaint to add AGCS as a defendant.

          St. Clair, Boudreau and GEICO Marine filed a Cross-Claim against AGCS.23                     The


Cross-Claim alleges that M/V KINGFISH lost a propeller and could not be used to take Plaintiffs

fishing on February 12, 2017 as planned.24" The Cross-Claim alleges that the lost prop is a

covered loss under the AGCS Policy.25 The Cross-Claim alleges that Extreme Fishing used M/V

SUPER STRIKE as a temporary substitute vessel at the time of the collision.26 The Cross-Claim

alleges that the Temporary Substitute Watercraft provision provides coverage to Boudreau while

operating M/V SUPER STRIKE at the time of this incident.27 The Cross-Claim alleges that
                                                                98
Boudreau is entitled to coverage under the AGCS Policy.


          AGCS filed an Answer to the Cross-Claim on March 14, 201 8.29 AGCS denies that the

lost propeller is a covered loss under its Policy.30 AGCS denies that M/V SUPER STRIKE is a
                                                               91
temporary substitute Watercraft as defined in its Policy.            AGCS denies that that Boudreau is an


insured entitled to coverage under its policy.32 AGCS pled no specific Policy exclusions in its

' Answer.


                                              AGCS's Coverage Defenses


           On March 19, 2018, Boudreau propounded discovery to AGCS. Specifically, AGCS was

asked to identify the factual bases for its denial that the lost prop is a covered loss and all

20R.Doc.Nos. 5 and 17.
21 The claims against Wetzel were dismissed on summary judgment. R. Doc. No. 87.
22 R. Doc. 54.
23 R. Doc. No. 79.
24 R. Doc. No. 79, Paragraph 1 .
25 R. Doc. No. 79, Paragraph 24.
26 R. Doc. No. 79, Paragraph 25.
27 R. Doc. No. 79, Paragraphs 23-25 and 29.
28 R. Doc. 79, Paragraph 28.
29 R. Doc. No. 83.
30 R. Doc. No. 83, Paragraph XXV.
31 R. Doc. No. 83, Paragraph XXVI.
32 R. Doc. No. 83, Paragraph XXIX.


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coverage defenses it is asserting against Boudreau.              AGCS maintained that these facts were

subject to various privileges, but nevertheless provided evasive responses.                 The Court ordered

AGCS to provide answers to these interrogatories.33 AGCS provided these answers on August
jgth 34




           AGCS reasserted its overruled objections and provided revised/supplemental Answers to

Interrogatories that remain evasive and/or non-responsive.                    AGCS's remaining coverage


defenses35, however, can be summarized as follows: 1) Wetzel provided late notice of this claim

to AGCS and had M/V KINGFISH repaired before AGCS could inspect the vessel to determine

if the lost prop is a covered loss under its Policy and 2) "the terms and conditions of the

Temporary Substitute Watercraft provision in [its] Policy have not been established."                     AGCS


also maintains that if there is coverage for Boudreau under its Policy, the GEICO Marine Policy

provides primary coverage and the AGCS Policy provides excess coverage.

           The uncontested facts establish that M/V KINGFISH was out of service on February 12,

2017 due to a covered loss and that M/V SUPER STRIKE meets the definition of "a temporary

substitute Watercraft" under the AGCS Policy because it is of a similar type, value and length as


M/V KINGFISH.          The Other Insurance clauses in the two policies establish that the AGCS

Policy provides primary coverage for Boudreau and the GEICO Marine Policy provides excess


coverage. For these reasons, Boudreau' s Motion for Summary Judgment should he granted.




33 R. Doc. No. 185.
34 Exhibit H, AGCS's Revised/Supplemental Answers to Interrogatories.
35 One basis for AGCS's denial of coverage to Boudreau was Wetzel's testimony that he "gave away" the Beck
charter to Boudreau. Exhibit H, Revised/Supplemental Answers to Interrogatories Nos. 3 and 4(5). See also R.
Doc. No. 142, pp. 2 and 7. The Court has since found that testimony to be "self-serving and implausible" and which
'makes economic sense only as a post-collision argument to escape liability". The Court ruled that Extreme Fishing
is, as a matter of law, the demise charterer of M/V SUPER STRIKE. R. Doc. No. 186. That coverage defense is
therefore moot.
36 Exhibit H, AGCS's Revised/Supplemental Answers to Interrogatories Nos. 2, 4(4), (6) and (7).


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                                                 Law and Analysis


I.   Legal Standard

           Summary judgment is warranted when "the movant shows that there is no genuine dispute

                                                                                                                 „37
as to any material fact and the movant is entitled to judgment as a matter of law.                                     When


assessing whether a dispute as to any material, fact exists, the Court considers "all of the evidence

                                                                                                                         „38
in the record but refrain[s] from making credibility determinations or weighing the evidence.

All reasonable inferences are drawn in favor of the nonmoving party, but "unsupported allegations

or affidavits setting forth 'ultimate or conclusory facts and conclusions of law' are insufficient to

                                                                        5539   CC
either support or defeat a motion for summary judgment.                             No genuine dispute of fact exists if


the record taken as a whole could not lead a- rational trier of fact to find for the nonmoving

         „40
party.


           If the dispositive issue is one on which the moving party will bear the burden of proof at


trial, the moving party "must come forward with evidence which would entitle it to a directed

verdict if the evidence went uncontroverted at trial."41 The nonmoving party can then defeat the

motion by either countering with evidence sufficient to demonstrate the existence of a genuine


dispute of material fact, or by "showing that the moving party's evidence is so sheer that it may


not persuade the reasonable fact-finder to return a verdict in favor of the moving party."42 If the

dispositive issue is one on which the nonmoving party will bear the burden of proof at trial, the


moving party may satisfy its burden by pointing out that the evidence in the record is insufficient




37 Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, All U.S. 317, 322-23 (1986); Little v. Liquid Air Corp.
37 F.3d 1069, 1075 (5th Cir. 1994).
38 Delta & Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398-99 (5lh Cir. 2008).
39 Galindo v. Precision Am. Corp., ISA F.2d 1212, 1216 (5th Cir. 1985); see also Little, 37 F.3d at 1075.
40 EEOC v. Simbaki, Ltd., 767 F.3d 475, 481 (5th Cir. 2014).
41 Int'l Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257, 1264-65 (5th Cir. 1991) (internal citation omitted).
42 Id. at 1265.



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with respect to an essential element of the nonmoving party's claim.43 The burden then shifts to

the nonmoving party, who must, by submitting or referring to evidence, set out specific facts

showing that a genuine issue exists.44 The nonmovant may not rest upon the pleadings, but must

identify specific facts that establish a genuine issue for trial.45

     II.       Louisiana Law on Contracts

               "Under Louisiana law, 'an insurance policy is a contract that must be construed in


accordance with the general rules of interpretation of contracts set forth in the Louisiana Civil

           )3>46
Code.              The Civil Code instructs that a court, in interpreting a contract, must ascertain the


common intent of the parties.47 "When the words of a contract are clear and explicit and lead

to no absurd consequences, no further interpretation may be made in search of the parties'

           >,48
intent.            The words in a contract are assumed to carry their "generally prevailing meaning,"


unless the words have acquired a technical meaning.49 Moreover, "[e]ach provision in a

contract must be interpreted in light of the other provisions so that each is given the meaning

                                                  3350
suggested by the contract as a whole,                    Interpretation of an insurance contract generally

                                                                                                  1
involves a question of law.51

               "An insurance policy should not be interpreted in an unreasonable or a strained

manner so as to enlarge or to restrict its provisions beyond what is reasonably contemplated




43 See Celotex, 477 U.S. at 325.
44 See Id. at 324.
45 See, e.g., Id.) Little, 37 F.3d at 1075 ("Rule 56 mandates the entry of summary judgment, after adequate time for
discovery and upon motion, against a party who fails to make a showing sufficient to establish the existence of an
element essential to that party's case, and on which that party will bear the burden of proof at trial."
45 Coleman v. Sch. Bd. ofRichland Parish, 418 F.3d 511, 516 (5th Cir. 2005) (quoting Am. Int'l Specialty Lines
Ins. Co. v. Canal Indent. Co., 352 F. 3d 254, 262 (5th Cir. 2003)).
47 La. Civ. Code art. 2045; Coleman, 418 F.3d at 516; La. Ins. Guar. Ass'n v. Interstate Fire & Cas. Co., 630
So.2d 759, 763 (La. 1994).
48
  La. Civ. Code art. 2046.
49 La. Civ. Code art. 2047; La. Ins. Guar. Ass'n, 630 So. 2d at 763.
50 La. Civ. Code art. 2050.
51 In re: Katrina Canal Breaches Litig., 495 F,3d 191, 207 (5th Cir. 2007).


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                                                                     j>52
by its terms or so as to achieve an absurd conclusion,                      "Absent a conflict with statutory


provisions or public policy, insurers, like other individuals, are entitled to limit their liability

and to          impose   and enforce      reasonable conditions          upon the policy    obligations they

                             5)53
contractually assume.               That being said, if ambiguities remain after the court applies the


general rules of contractual interpretation, the ambiguities must be construed in favor of the

insured.54 When confronted by an ambiguous provision in an insurance policy, the court will

construe the provision as a "reasonable insurance policy purchaser would ... at the time the

                                        ))55
insurance contract was entered.


            "With respect to coverage, the insured bears the burden of proving that the incident

                                                                  5)56
giving rise to a claim falls within the policy's terms,                  But the insurer bears the burden of


proving that an exclusion to coverage applies.57 Exclusions "are construed strictly against the
                                          ??58
insurer and in favor of coverage.                "A policy of insurance insuring against 'all risks' creates


a special type of coverage that extends to risks not usually covered under other insurance;


recovery under an all-risk policy will be allowed for all fortuitous losses not resulting from


misconduct or fraud, unless the policy contains a specific provision expressly excluding the

                          5)59
loss from coverage.




52 La. Ins. Guar. Ass'n, 630 So.2d at 763.
53 Id.
54 Id. at 764; see also La. Civ. Code art. 2056 ("In case of doubt that cannot be otherwise resolved, a provision
in a contract must be interpreted against the party who furnished its text."); Garcia v. St. Bernard Parish Sch.
Bd., 576 So.2d 975, 976 (La.1991) ("Equivocal provisions seeking to narrow the insurer's obligation are strictly
construed against the insurer, since these are prepared by the insurer and the insured had no voice in the
preparation.").

55 Brelandv. Schilling, 550 So.2d 609, 610-11 (La. 1989).
56 Coleman, 418 F.3d at 517 (citing Doerr v. Mobil Oil Corp., 11A So.2d 119, 124 (La. 2000)).
51 Id.
58 Id.\ accord Garcia, 576 So.2d at 976.
59 Trinity Indus., Inc. v. Ins. Co. ofN. Am., 916 F.2d 267, 269 & n. 11 (5th Cir. 1990).


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            "A fortuitous event ... is an event which so far as the parties to the contract are aware, is

dependent on chance.         It may be beyond the power of any human being to bring the event to

pass; it may be within the control of third persons; it may even be a past event, as the loss of a

                                                                     »60
vessel, provided that the fact is unknown to the parties.                  The insured's burden of showing a


fortuitous loss is "not a particularly onerous one."61 Indeed, courts have recognized that "all

risks insurance arose for the very purpose of protecting the insured in those cases where

difficulties of logical explanation or some mystery surround the (loss of or damage to)

            5)62
property.          Therefore, the insured need not prove "the precise cause of the loss or damage" to


demonstrate fortuity.63

    III.       The Loss of M/V KNGFISH's Port Prop on February 11, 2017 is a Covered Loss


    a.     AGCS Fails to Meet its Burden of Proof that the Loss of M/V KINGFISH's
           Propeller is not a Covered Loss Under its Policy


           The AGCS Policy is an "all risks" policy.                   The AGCS Policy defines Insured


Watercraft as the vessel described on the Declarations Page, including its propellers, that is


owned by the named insured (Wetzel).64 The Insured Watercraft is M/V KINGFISH.65 Under

the Section entitled COVERAGE FOR DAMAGE TO YOUR WATERCRAFT (hereinafter


"hull coverage"), the AGCS Policy provides as follows:


    A. Losses Covered


    We will pay for direct physical loss or damage to the Insured watercraft, its equipment,
    trailers, and personal effects unless:


     1.    The cause of the loss is identified as not covered below; or




60 Morrison Grain Co., Inc. v. Utica Mut. Ins. Co., 632 F.2d 424, 431 (5th Cir.1980).
61 Id. at 430.
62 Id.
63 Id.
64 Exhibit F, p. 2, Paragraph 7(a) and (c)(2).
65 Exhibit F, p. 1.


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     2. An insured's action is in violation of the terms and conditions identified in Restrictions
            on the Use of the Watercraft and Duties Required to Preserve Coverage found
          under GENERAL RULES AND CONDITIONS.



       C.           Losses Not Covered
        We will not pay for loss:
        1. Intentionally caused by you or with your consent.
        2. Caused by your failure to use reasonable care in the maintenance of the property
        covered.
        3. That results from wear and tear, gradual deterioration, overheating, ice or
           freezing, electrolysis, galvanic action, osmosis, changes in temperature wet or
           dry rot, mold, dampness, mildew, corrosion, weathering, marring, scratching,
             denting, vermin, animals or marine life. However, this exclusion does not apply
             to total loss of the insured Watercraft that is caused by any of these.
        4. Caused by or resulting from blistering, or delamination.
        5. To any main engine or auxiliary machinery or generators or appurtenances that at
           the time of a loss is greater than seven (7) years from its original date of
             manufacture or remanufacture unless directly caused by stranding, sinking, fire,
             lightning or collision with another vessel or a fixed or floating object. This
             exclusion, however, does not apply to the propeller and propeller shaft, nor shall
             this exclusion apply to damage to main engines that is directly caused by the
             intake of any foreign objects into the engine cooling system
        6. To any part defectively manufactured or designed. However, this exclusion does
             not apply to indirect physical loss or damage caused by any hidden defect in the
             machinery, the hull, or other defective part. We will not, however, pay for the
             cost of replacing or repairing the defective part.
        7. Caused directly or indirectly               by     incomplete,     improper   or   faulty    repair,
           maintenance or renovation.
        8. Due to loss of use (except loss of charter hire provided in Section B.6), loss of
             value or obsolescence.                      .
        9. To the Insured Watercraft' s fishing or trolling machinery, and all related
             appurtenances including but not limited to cables, lines or winches, while being
             used in fishing or trolling operations.
        10.       Due to unexplained disappearance of fishing equipment and personal effects
             from the Insured Watercraft. But this exclusion does not apply if the Insured
             Watercraft shows signs of forced entry or forcible removal.
        11.     Of wages         for the captain or crew or the cost of food, fuel,                    or other
           consumables.


          "Loss" and "direct physical loss" are not defined in the AGCS Policy.                 Accordingly,


those terms must be given their ordinary, generally-accepted meanings.67 In general, a "loss"

means a "destruction," "ruin," or "deprivation." Merriam-Webster's Collegiate Dictionary 736




66 Exhibit F, pp. 4, 5.
67 Mangerchine v. Reaves, 63 So. 3d 1049, 1056 (La. App. 1st Cir. 3/25/11).


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                     „68
(11th ed. 2008).           Neither Boudreau nor Wetzel know why the port prop came off. The loss of

the port prop on February 11, 2017, which caused M/V KINGFISH to be out of normal use on

February 12th, is "direct physical loss or damage" and thus, a Covered Loss under the AGCS

Policy.


             The burden therefore shifts to AGCS to prove that 1) the cause of the loss is identified in

the AGCS Policy as not covered or 2) or "an insured" violated the terms and conditions of the

AGCS Policy required to preserve coverage. Failure to meet either of these conditions would

preclude coverage under the AGCS Policy for not only Boudreau, but also Wetzel and Extreme

Fishing. AGCS defended Wetzel until the claims against him were dismissed. AGCS continues

to defend Extreme Fishing. AGCS has only denied coverage to Boudreau.

             In AGCS's March 14, 2018 Answer to Boudreau's Cross-Claim, it specifically denied

                                                            69
that the lost prop is a covered loss under its Policy.           AGCS, however, admits that it had no


basis to deny this allegation. Three months after filing its Answer, AGCS filed an opposition to

Boudreau's Motion for Partial Summary Judgment on its duty to defend. There, AGCS admitted

that "the investigation into the alleged "covered loss" (the basis of the vessel being down, as this

                                                                                                             „70
is required for the Temporary Substitute Watercraft provision to potentially apply) is ongoing.


This begs the question of why AGCS denied that the lost prop is a covered loss in the first place.


             Additionally, AGCS      submitted a Rule 56(d) affidavit attesting that "[Additional


discovery, including potential depositions of previous/additional fact witnesses, as well as the


aforementioned depositions, will provide evidence regarding why the M/V KINFISH I (sic) was


allegedly "out of service" on the date of the incident, which is critical to Boudreau's claim for




68
     Id.
69 See R. Doc. No. 79, Paragraph 24 of the Cross-Claim and R. Doc. No. 83, Paragraph XXV of AGCS's Answer.
70 R. Doc. No. 142, p. 11.


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defense."71 AGCS further admitted that "[U]ntil AGCS has had the opportunity to conduct such

discovery, it will not be able to fully assess whether a covered loss occurred under the AGCS

          „72
Policy.


          This represents a fundamental misunderstanding of AGCS's Policy.           AGCS already


knows that M/V KINGFISH was out of service on that date due to a lost prop, which constitutes

direct physical loss or damage to the insured vessel, and thus, a covered loss under its Policy.

Additional discovery is therefore "not critical to Boudreau's claim for defense".           Rather,


additional discovery is only "critical" to AGCS's coverage defense because it must prove that the

cause of the loss is identified as not covered under its Policy. Moreover, Wetzel testified that he

did not know why the port prop spun off and that the vessel was in great condition the day

before. Boudreau testified that he did not know why the propeller spun off either.    It is therefore


unclear what information may be gleaned by AGCS re-deposing these witnesses. AGCS also had


the opportunity to take an examination under oath of its named insured Wetzel and to inspect

M/V KINGFISH to determine the cause of the loss more than one year ago.73 It did not do so.

          AGCS's Court ordered Answers to Interrogatories likewise fail to establish that the cause


of the lost propeller is identified in the AGCS Policy as not covered. Even though its objections


were overruled, AGCS nevertheless continued to object to this interrogatory on the grounds it is

premature.      AGCS, however, stated that by the time that it had received notice of the loss on


May 2, 2017, "the KINGFISH had long been repaired and AGCS did not have an opportunity to


inspect the vessel to directly determine whether it was or was not out of normal use because of

an alleged covered loss under the Temporary Substitute Watercraft provision" in its Policy.74



71 R. Doc. No. 142-5, Paragraph 12.
72 R. Doc. No. 142-5, Paragraph 13.
73 Exhibit F, p. 14, paragraph B(5)(d) and (e).
74 Exhibit H, AGCS's Revised/Supplemental Answer to Interrogatory No. 2.


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         AGCS seems to represent that it has been prejudiced by Wetzel's late notice, thereby

making it impossible for to determine if the cause of the loss is identified as not covered under its

Policy. As discussed below, however, any late notice by Wetzel is not a basis to deny coverage

to Boudreau.       AGCS, however, has also argued that its investigation into the cause of the loss is

ongoing, and its investigation will eventually reveal the cause of the loss. AGCS did not have

any factual basis whatsoever to deny that the loss of M/V KINGFISH's prop is a covered loss

under its Policy when it denied coverage to Boudreau on March 14, 2018.                      It has no facts to


support its denial of coverage now. The Court should therefore find that MA KINGFISH was

out of normal use on February 12, 2017 due to a covered loss under the AGCS Policy.


    b. Wetzel's Late Notice does not Preclude Coverage for Boudreau

         AGCS maintains that it did not receive notice of the February 12, 2017 collision from its

named insured until May 2, 2017. AGCS claims that this represents late notice, and that timely

notice is a condition precedent to coverage under its Policy.                      AGCS therefore claims that


Wetzel's late notice is a basis to deny coverage to Boudreau without demonstrating actual


prejudice.75     Again, such late notice would likewise preclude coverage for Extreme Fishing,

which is being defended by AGCS.              There is no merit to AGCS's late notice defense against


Boudreau.


         The Definitions section of the AGCS Policy states that words and phrases defined therein


"are bold-faced" when used".76 The AGCS Policy provides four separate definitions of what

Insured means.77          Under that definition, insured is specifically defined as "the persons or




75 R. Doc. No. 142 at pp. 8-9. The cases cited by AGCS are inapplicable because they only apply to policyholders
who are "sophisticated businesses" and not individual policyholders like Wetzel.
76 Exhibit F, p. 2.
77 Exhibit F, p. 2, paragraph 6(a) - (d).


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organizations named as the insured on the Declaration", i.e., Wetzel.78 In addition to the named

insured, Insured also means "[Ojther persons or organizations using the Watercraft with your

                         »7 9                                                                                 80
prior permission.               Here, that definition includes both Extreme Fishing and Boudreau.


            The AGCS Policy, however, does not define the terms "insured", "an insured", "the


insured" or "the Insured". The AGCS Policy variously uses the terms "the insured" (9 times)81,

"the insured" (9 times)82, "the Insured" (5 times)83 and "the Insured" (3 times)84 a total of 26
                                                                                     oc
                                                                                                                      86
times. The AGCS Policy also uses the terms "an insured" (6 times)                         , "an insured" (15 times)

                                        07



and "any insured" (once)                     a total of 22 times,   All of these haphazardly used terms are


ambiguous.

                                                                                           88
            "An insured" is interpreted to mean any unspecified insured.                        "The article "the" is


singular and is used to particularize the subject spoken of.                    "The" is a word of limitation.

                                                                                                        „89
Black's Law Dictionary (6th ed.). Hence, "the" insured means only one insured.                                 Because


Insured has four separate definitions under the AGCS Policy, the article "the" cannot


particularize any single Insured.                  As Wetzel, Extreme Fishing and Boudreau all meet the


definition of Insured, the term "the Insured" ambiguous.                       Similarly, the term "insured" is


defined as the named insured on the Declaration, i.e., Wetzel. Yet, 15 different times, the AGCS


Policy makes reference to "an insured".                   The AGCS Policy also uses the term "an insured",


which could be interpreted to mean "any insured". "An insured" and "an insured" are thus not



78 Exhibit F, p. 2, paragraph 6(a).
79 Exhibit F, p. 2, paragraph 6(d).
80
     R. Doc. No. 186.
81 Exhibit F, pp. 3, 4, 8, 9, 10, 1 1 and 13.
82
     Exhibit F, pp. 2, 3, 1 1 and 13.
83 Exhibit F, pp. 8, 13, 14 and 15.
84
     Exhibit F, pp. 6 and 8.
85 Exhibit F, pp. 4, 8, 9 and 10.
86
     Exhibit F, pp. 8, 9, 10, 11, 12, 14 and 17.
87 Exhibit F, p. 9.
88
     Osbon v. Nat 'I Union Fire Ins. Co., 93-1975 (La. 2/2-8/94), 632 So.2d 1158, 1160.
89
     Id. at 1159-1160.




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synonymous terms. Using the indefinite article "an" before the singular "insured" renders this

defined term ambiguous. Moreover, "an insured" is used in the Policy interchangeably with "an

insured", thereby making both terms ambiguous.


          The ambiguity does not stop there. M/V KINGFISH's lost prop is covered under the hull

coverage section of the AGCS Policy. Under the aforementioned Losses Covered provision, it

states that AGCS will pay damages "an insured" is legally required to pay unless "[A]n insured's

action is in violation of the terms and conditions identified in Restrictions on the Use of the

Watercraft and Duties Required to Preserve Coverage found under GENERAL RULES


AND CONDITIONS."90 AGCS maintains that Wetzel provided late notice of the collision, not

the lost prop, which is covered under the P&I coverage section of the AGCS Policy. Under that

Losses Covered provision, it states that AGCS will pay damages "an insured" is legally

                                                                                                          »91
required to pay unless "[A]n insured's action is in violation of the terms and conditions...


          The Policy language relied upon by AGCS to deny coverage to Boudreau for Wetzel's

untimely notice uses the terms "the Insured", "an insured" and/or "an insured", rendering the

                                    Q9
notice requirement ambiguous.            The notice provision provides:


          5. We have no duty to provide coverage under this policy unless there has been full
            compliance with the following duties:
                (a) The Insured shall within forty-eight hours after arrival in port, report any
                    loss or damage and shall give prompt notice thereof by telegraph and mail
                    to the Broker of Record, Ocean Marine Insurance Agency, Inc., Bldg
                    #10, Warwick, RI 02886 1-800-767-6687 and in no event will any claim
                    be admitted by this company unless such notice in writing has been
                       presented within sixty days from the occurrence of same.




90 Exhibit F, p. 4.
91 Exhibit F, p. 8.
92 Brown v. Meszner, 200 WL 1210824, *4 (E.D. La. 2000)(exclusionary clause for intentional acts of "the insured",
not "any insured". Other policy exclusions refer to "any insured", at best making the policy language ambiguous);
Morris v. Coker, 923 F.Supp.2d 863, 870-874 (W.D. La. 2013).
93 Exhibit F, p. 14.


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         The duty to provide notice of loss or damage falls on the ambiguous term "the Insured",

which AGCS interprets to mean Wetzel, but not Extreme Fishing or Boudreau. The term "an

insured" is ambiguous because insured is defined as the named insured (Wetzel), but not

Extreme Fishing or Boudreau.            The term "an insured" is not defined, but could mean "any


insured" or the insured who provided the late notice, here, Wetzel. Nevertheless, with respect to

Wetzel's untimely notice, AGCS interprets "an insured" and/or "an insured" to mean only

Boudreau, but neither Wetzel nor Extreme Fishing. Due to the ambiguity in the AGCS Policy, it

cannot be reasonably interpreted to mean that late notice by Wetzel can serve as a basis to deny

coverage to Boudreau (and only Boudreau).


IV.      M/V SUPER STRIKE is a Temporary Substitute Watercraft Because it is of a
         Similar Type, Value, and Length as M/V KINGFISH


         Boudreau has established that M/V KINGFISH was out of normal service due to a


covered loss as defined in the AGCS Policy.                   Therefore, to deny coverage to Boudreau,


AGCS must prove that M/V SUPER STRIKE is not "a temporary substitute Watercraft"

because it is not of a similar type, length and value as M/V KINGFISH. The ambiguity in the


Temporary Substitute Watercraft provision makes this impossible.

         "Similar" is not defined in the AGCS Policy.                "Similar" may be used in English to


mean the "same" or "identical" though it is defined as "showing some resemblance; related in

appearance or nature; alike though not identical.94 "It is difficult to imagine being called upon

to interpret a more imprecise term. This inherent vagueness fully justifies the conclusion that

                                        »95
the term "similar" is ambiguous.




94 Weddborne v. Doe, 194 So.3d 80, 91 (La. App. 4th Cir. 5/4/16).
95 Id.', See also Bitton v. State Farm Mut. Auto. Ins. Co., 2012 WL 3061674, *16 (E.D. La. 2012).


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          The term "type" is also not defined in the AGCS Policy.               "Type" is defined as "a

                                         >,96
particular kind, class, or group.               Both M/V SUPER STRIKE and M/V KING FISH are


boats used for charter fishing trips from Venice, Louisiana to the East Lump area.                 Wetzel


admitted that M/V SUPER STRIKE and M/V KINGFISH are similar. M/V SUPER STRIKE

is therefore "of a similar type" as M/V KINGFISH.                "Value" is not defined in the AGCS

Policy. "Value" can be defined as "a fair return or equivalent in goods, services, or money for
                                                                              jj97
something exchanged" and "relative worth, utility, or importance.                    This Court noted that


Patrick Beck "expected to pay Wetzel the $2,200 trip fee even though they were no longer

                                   „98
using one of Wetzel's boats.             M/V SUPER STRIKE and M/V KINGFISH are therefore "of


a similar value." Finally, M/V SUPER STRIKE is 32' in length. M/V KINGFISH is 40' in

length. Because "similar" is inherently ambiguous, and ambiguity must be resolved in favor

of the insured, M/V SUPER STRIKE is "of a similar length" as M/V KINGFISH.

           M/V SUPER STRIKE meets the definition of "a temporary substitute Watercrafit" under

the AGCS Policy. AGCS admittedly has no facts to support its conclusion that "the terms and

conditions of the Temporary Substitute Watercraft provision have not been established."99 The

AGCS Policy provides coverage to Boudreau for this collision. Indeed, it is clear that the AGCS

Policy provides primary coverage for Boudreau and the GEICO Marine Policy provides excess

coverage.




96 "Type". Merriam-Webster.com, 2011. https://www.merriam-webster.com (September 7, 2018).
97 "Value". Merriam-Webster.com. 201 1. https://www:merriam-webster.com (September 7, 2018).
98
     R. Doc. No. 186, pp. 11-12.
99 Exhibit H, AGCS's Revised/Supplemental Answer to Interrogatory No. 4(6).


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                                                                    Marine Policy
V.          The AGCS Policy Provides Primary Coverage and the GEICO
            Provides Excess Coverage for Boudreau

                                                                   Policies
       a. The Other Insurance Clauses in the GEICO Marine and AGCS

                                                                                s coverage to him, as
            GEICO Marine issued a Charter Boat Policy to St. Clair that provide

                                                                             ions in the
owner, and Boudreau, as operator, of M/V SUPER STRIKE.100 The General Condit
                                                             provides:
GEICO Marine Policy contains an Other Insurance clause which

                                                                                absence of this policy,
            If there is any other available insurance that would apply in the
                                                                              this policy and any other
            this insurance shall be excess over the other insurance. ... When
                                                                          we  will pay only our share.
            policy covers on the same basis, either excess or primary,
                                                                              policy bears to the total
            Our share is the proportion that the Limit of Insurance of our
            limits of all the policies covering on the same basis.
                                                                                insured against a claim
            When this insurance is excess, we will have no duty to defend an
            or suit if any other insurer has a duty to defend an insured against that claim or suit.101
                                                         Policy provides:
            The GENERAL RULES AND CONDITIONS in the AGCS

            O. Other Insurance

                                                                                     ce that would apply
             If, at the time of a covered loss or damage, there is any other insuran
                                                                                  this policy will apply
             to the property in the absence of this policy, the insurance under
             only as excess insurance over the other insurance. (Emphasis added).102
                                                                   M/V KINGFISH
       b.    "The Property" in AGCS's Other Insurance Clause Means

                                                                              r, that "the property"
            "Property" is not defined in the AGCS Policy. It is clear, howeve

                                                      not "a temporary substitute
 means the Insured Watercraft, i.e. M/V KINGFISH, and

                                                                                vessel(s) described
 Watercraft".        The AGCS Policy defines the Insured Watercraft as "(a) the

                                                             , for which a specific limit of
 on the Declarations Page that is owned by the named insured

                                                                                  own terms, does
 liability shows there is coverage".103 The Insured Watercraft, therefore, by its
                                                              "A temporary substitute Watercraft" has a
 not mean "a temporary substitute Watercraft".




                                                                   1008950-00.
       Exhibit I, GEICO Marine Charter Boat Policy, Polity No, CBT
 100


 101 Exhibit I, p. 10.
 102
       Exhibit F, pp. 17-18.
 103
       Exhibit F, p. 2, 7(a).




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specific definition that is used consistently throughout the AGCS Policy.104 Furthermore, the

Loss Settlement provision in the hull coverage section addresses payment for damage to the

Insured Watercraft.             Paragraph 5 of this provision states "For other losses covered by this
                                                                                             »105
                                                                                                    The AGCS Policy
policy, including losses to temporary substitute [] Watercraft, we pay. . .

never refers to "a temporary substitute Watercraft" as "property".

            That is because the term "property" only refers to the Insured Watercraft. For example,

in the Definitions section of the AGCS Policy, Actual Cash Value for a newly acquired vessel

by the named insured, as referenced in the definition of the Insured Watercraft106, "means the

amount it would currently cost to repair or replace covered property with new material of like

kind and quality..."107 (Emphasis added).

            Additionally, the term "property" is used throughout the hull coverage section, which

                                                     108
only applies to the Insured Watercraft.                      Under Section C, Losses Not Covered, it states that


AGCS will not pay for losses caused by the named insured's "failure to use reasonable care in

                                                     55109
the maintenance of the property covered.                      Section D provides in part:


        6. If a Loss Payee or Additional Insured/Joint Owner is shown on the Declaration page,
the loss payment will be made to the Insured, the Loss Payee, and the Additional Insured/Joint
Owner as their interests may appear.


            7. But even if more than one person has an insurable interest in the covered property, we
will not pay. . .
                                                              it'k'k'k'k




        10. If you or we recover any property for which we have made a payment under this
policy, you or we will notify the other of the recovery. At your option, the property will be
returned to or retained by you or it will become our property.                           If the recovered property is




       Exhibit F, pp. 9 (Section D (5)), 11 (Section G (2)(b)), and 12 (Section G(6)).
 104

 105
       Exhibit F, p. 6, paragraph D(5).                       -
 106
       Exhibit F, p. 2, paragraph 7(b)(2).
 107
       Exhibit F, p. 2, Definitions.
 108
       Exhibit F, p. 4.
 109
       Exhibit F, p. 5, paragraph C(2).




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                                                                                        you
returned to or retained by you, the loss payment will be adjusted based upon the amount
received for the recovered property. 110 (Emphasis added).

          The GENERAL RULES AND CONDITIONS, which contains the Other Insurance

                                                                             Section B under the
clause, never uses the term "a temporary substitute Watercraft".

GENERAL RULES AND                   CONDITIONS         addresses restrictions on the use of "the


Watercraft".111 This section interchangeably uses the terms "the Watercraft" (3 times), "the
                                                                                            "the
insured watercraft" (6 times), "your Watercraft" (3 times), "the insured vessel" (2 times),

                                                                                         a total
vessel" (two times), "the insured watercraft" (once) and "the Insured watercraft" (once)

of 18 times.112 All of these terms, however, are synonymous with the Insured Watercraft, and
                                                                               M/V
the term "property" as used in section B clearly means the Insured Watercraft,

KINGFISH. Section B(5) requires the named insured to:

                                                                                           includes
           (c) Take all reasonable steps to protect the property from further damage. This
                                                                                          of  repair
           making reasonable and necessary repairs and keeping an accurate record
           expenses.                              -



           (d) As often as we reasonably require, make the Watercraft and other damaged property
                                                                                            nce
               available for our inspection. Keep any damaged parts, machinery and maintena
                records available for inspection. (Emphasis added).113

           The GENERAL RULES AND CONDITIONS further provide:

                     K.      Abandonment of Property


           We need not accept any property abandoned by an insured. (Emphasis added).114




 no
      Exhibit F, pp. 6-7.
 111 Exhibit F, p. 12.
 112 Exhibit F, pp. 12-14.
 113 Exhibit F, p. 14.
 114 Exhibit F, p. 17.


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                   N.     No Benefit to Bailee


                  We will not recognize any assignment or grant any coverage for the benefit of any
                                                                                                   s
                  person or organization holding, storing, or moving property for a fee, regardles
                  of any other provision of this policy. (Emphasis added).115

            The term "the property" clearly means the Insured Watercraft under the AGCS Policy.

                                                                                   the time of a
AGCS's Other Insurance clause, therefore, can be properly read as follows: "If, at

                                                                                    SH in the
covered loss or damage, there is any other insurance that would apply to MIV KINGFI

absence of this policy, the insurance under this policy will only apply as excess."

                                                                               on the
            Under the GEICO Marine Policy, Insured Boat means the vessel named


Declarations Page, M/V SUPER STRIKE.116 M/V KINGFISH is not the Insured Boat under

the GEICO Marine Policy.            The GEICO Marine Policy, therefore, does not "apply to M/V


KINGFISH."


       c.   Law and Analysis

                                                                                      "other
            When two entities provide insurance coverage for the same risk, a typical

                                                                   the two coverages
insurance" situation is presented and the Court must determine how


coordinate to pay for the loss.117 Under Louisiana law, the Court must determine the priority of
                                                                                                    118
                                                                                                          Louisiana
the two coverages by attempting to give effect to any "other insurance" clauses.

                                                                            (2) excess and (3)
law recognizes "three basic types of other insurance clauses: (1) pro rata,

                                                                                 over other valid
escape.... Excess clauses provide that the coverage of the policy will be excess

                                                                                   the coverage of
and collectible insurance so that the insurer will have no obligation to pay until
                                                         »119
the other policy or policies has been exhausted.




 115 Exhibit F, p. 17.
                                                                                              Insured Boat as a 2005
 116 Exhibit I, Declarations Page and p. 1, Definitions. The Declarations Page identifies the
 32' Twin Vee Runabout, i.e., M/V SUPER STRIKE.
 117 See Graves v. Traders & Gen. Ins. Co., 214 So.2d 116, 117 (La. 1968).
 118
     Id.; Truehart v. Blandon, 884 F.2d 223, 226 n. 7 (5"' Cir. 1989).
 119 Citgo Petroleum Corp. v. Yeargin, Inc., 690 So.2d 154, 167 (La. App. 3rd Cir. 1997).


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          In dealing with the two "other insurance" clauses, this Court must attempt to reconcile

                                                   If two or more "other insurance" clauses are of a nature
                                             120
the two clauses and give both effect,

                                                                                     the insured
that a court, to give effect to the intent of each clause simultaneously, must leave

                                                                                  repugnant
with no coverage for which premiums have been paid, then the clauses are mutually
                                                                          121
and each policy is considered to provide primary coverage.

                                                                                                when
          "The 'pro-rata' policy always contemplates paying first dollar coverage, either full,

                                                                                            valid and
no other valid and collectible insurance exists, or part, when it will share with the other

                                                                                         only in
collectible insurance. The 'excess' other insurance, however, pays first dollar coverage
                                                                 5)122
the absence of other valid and collectible insurance.                    If one policy provides primary coverage

                                                                               not mutually
and another policy provides excess coverage, the "other insurance" clauses are

                                                                              to the excess
repugnant because the insured is not left without coverage if effect is given

clause. 123
                                                                                              d a
          The decision in Markey is instructive. There, the Louisiana Citizens policy containe

                                                                                   the Louisiana
pro rata clause, and the American Security policy an excess clause. The court held

                                                                              clauses were not
 Citizens policy was primary and the American Security policy excess; the two

mutually repugnant.124 Similarly, both the GEICO Marine and AGCS Policies provide coverage
                                                                           AGCS Policy,
 for any damages caused by Boudreau, the operator of M/V SUPER STRIKE. The

                                                                                  .
 however, must be classified as "primary" and the GEICO Marine Policy as "excess"




                                                                                             in multiple policies in order
    Id. (noting "[t]he courts are often called upon to reconcile the other insurance clauses
 120


 to apportion the responsibility for the insured's liability among the insurers.").
                                                                                                            601 So.2d
 121 See Lamastus & Assoc., Inc., v. GulfIns. Co., 260 So.2d 83 (La. App. 4th Cir. 1 972); Penton v. Hotho,
 762(La.App. 1st Cir. 1992).
                                                                                              ed on other grounds,
 122 Markey v. Louisiana Citizens Fair Plan, 2007 WL 1974332, *2 (E.D. La. 7/3/07), reconsider
                                                                                                  (La. App. 5th Cir.
 2008 WL 638613 (E.D. La. 3/5/08), citing Shaffer v. Stewart Const. Co., Inc., 865 So.2d 213, 222
 2004).
 123 Id. See also Juan v. Harris, 279 So.2d 187, 191 (La. 1973).
 124 Markey, supra, at *4.


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        The Other Insurance clause in the GEICO Marine Policy provides that it is excess over

any other available insurance that would apply in the absence of this policy. This clause makes

                                                                                             no
clear that the GEICO Marine Policy will only come into effect as primary coverage ifthere is

other "available insurance". Otherwise, the GEICO Marine Policy will be considered excess,

and will only go into effect if the other primary policy limits are exhausted. The AGCS Policy is

                                                                                      "if. . .
"available insurance" for Boudreau. The AGCS Policy, on the other hand, provides that

                                                                                            of
there is any other insurance that would apply to the property [M/V KINGFISH] in the absence

this policy, the insurance under this policy will, only apply as excess."                     Because the GEICO

                                                                                           to
Marine Policy does not apply to M/V KINGFISH, there is no other insurance that would apply

M/V KINGFISH in the absence of the AGCS Policy.

         The AGCS Policy, therefore, must be considered primary with respect to the Plaintiffs'

                                                                                    the duty
claims asserted against Boudreau in this case. As such, AGCS, not GEICO Marine, has

to defend Boudreau in this case.          GEICO Marine, therefore, is entitled to recover the costs it


incurred in defending Boudreau in this litigation.125 With respect to indemnity, the GEICO
                                                                                       and when
Marine Policy is excess over the AGCS Policy and will therefore only go into effect if

the AGCS Policy limits of $1,000,000 have been exhausted.

         AGCS notes that its Other Insurance clause is contained under the GENERAL RULES

                                                                                coverage
AND CONDITIONS section, which states "[T]hese rules and conditions apply to all

provided by this policy".126 AGCS argues that this general statement about coverage serves to
                                                                                    for Extreme
 expand its more narrowly drafted Other Insurance clause to provide excess coverage


Fishing.127 AGCS 's argument is unavailing.




 125 Liberty Mut. Fire Ins. Co. v. Fluor Enterprises, Inc.] 2012 WL 255763 (E.D. La. 2012).
 126 R. Doc. No. 142, p. 10. See also Exhibit F, p. 12.
 nild.


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                                                                               specific controls the
         In contract interpretation in the context of insurance policies, "the

                                                                                of AGCS's Other
general.
           5?128
                    The Court, therefore, must only look to the actual language

                                                        Marine Policy provides primary
Insurance clause to determine whether the AGCS or GEICO

                                                                                           "the
coverage for Boudreau.            AGCS's Other Insurance clause specifically uses the term

                                                                                  interpretation as
property".         This Court must adhere "to Louisiana principles of contractual

                                                                  alter' the clear terms of the two
articulated by the state's highest court, declining to 'change or
                                                    555129
policies 'under the guise of interpretation.

                                                     Conclusion


                                                                  au is entitled to coverage
           Boudreau and GEICO Marine have established that Boudre

                                                            of the Temporary Substitute
under the AGCS Policy by satisfying all of the requirements

                                                          established that the AGCS Policy
Watercraft clause. Boudreau and GEICO Marine have further

                                                      provides excess coverage for
provides primary coverage and the GEICO Marine Policy

                                                                              Policy and GEICO
Boudreau.          AGCS, therefore, has the duty to defend Boudreau under its

                                                                  ing Boudreau in this litigation.
Marine is entitled to recover the costs it has incurred in defend


                                                                  Respectfully submitted,



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                                                                  Boudreau and GEICO Marine Insurance
                                                                  Company



                                                                                Cir. 2013).
 128 In re: Matter ofComplaint ofSettoon Towing, L.L.C., 720 F.3d 268, 279 (5th
 129 American Intern. Specialty Lines Ins. Co., supra, at 261 .


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                                 CERTIFICATE OF SERVICE


       I hereby certify that a copy of the above and foregoing pleading was electronically filed
with the Clerk of Court by using the CM/ECF system, which will send a notification of such
filings to all counsel of record on this 10th day of September, 2018.


                                              /s/ Jedd S. Malish
                                              JEDD S. MALISH




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